                       IN THE UNITED STATES DISTRICT COURT
                        FOR THE EASTERN DISTRICT OF TEXAS
                                  TYLER DIVISION

CHAMBER OF COMMERCE OF THE
UNITED STATES OF AMERICA;
LONGVIEW CHAMBER OF COMMERCE;
AMERICAN BANKERS ASSOCIATION;
CONSUMER BANKERS ASSOCIATION;
INDEPENDENT BANKERS ASSOCIA-
TION OF TEXAS; TEXAS ASSOCIATION
OF BUSINESS; and TEXAS BANKERS AS-
SOCIATION.
                            Plaintiffs,

v.                                                  Case No. 6:22-cv-00381-JCB

CONSUMER FINANCIAL PROTECTION
BUREAU; and ROHIT CHOPRA, in his offi-
cial capacity as Director of the Consumer Fi-
nancial Protection Bureau,
                                      Defendants.

     NOTICE OF FILING OF JOINT APPENDIX OF ADMINISTRATIVE RECORD

        Pursuant to this Court’s November 14, 2022 Order (Doc. 16), Plaintiffs respectfully submit

the attached joint appendix, containing copies of the portions of the administrative record that the

parties cited or otherwise relied upon in any memorandum in support of or in opposition to the

cross-motions for summary judgment and Defendants’ motion to dismiss in this action.
                                                  Respectfully submitted,

Dated: January 30, 2023                           _/s/ Cameron T. Norris    __

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                         CERTIFICATE OF SERVICE
I e-filed this document on January 30, 2023, which emailed everyone requiring service.

                                              _/s/ Cameron T. Norris __




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